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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT

DAVID J. NASTRI, ESQ.                                     :               No. 3:23-cv-00056 (JBA)
     Plaintiff,                                           :
                                                          :
                v.                                        :
                                                          :
KATIE DYKES, in her official capacity,                    :
      Defendant.                                          :




                         DECLARATION OF PROFESSOR LEAH GLASER

        I, Leah Glaser, declare as follows:

        Background

        1.      I am a citizen of the United States and a Resident of Connecticut.

        2.      I am over 21 years of age.

        3.      I am a tenured, full Professor of History at Central Connecticut State University and

coordinator of the Public History program. For the last 20 years, I have taught college-level courses on

American History, the history of the American West, Public History, and, more recently Environmental

History, for which I focus on historic preservation. I have taught students and supervised over 40 capstone

projects on topics primarily related to Connecticut history.

        4.      I earned a PhD in American History, the American West and Public History from

Arizona State University, where I also earned a Master’s degree in Public History. During and since my 8

years in the West, I worked for several entities whose mission addresses public land use and resource

management, including the Salt River Project, the United States Bureau of Reclamation (USBR), for the

National Park Service (NPS) in Alaska and Pennsylvania, and as a consultant for the cities of Tucson and

Tempe. This included a deposition for the City of Tucson in front of the Court of Appeals: US WEST

COMMUNICATIONS INC v. CITY OF TUCSON (2000) testifying that the City of Tucson owns its

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streets. (A copy of my complete CV is attached as Attachment 1.)

        5.      Since 2009, I have also been a leader in encouraging environmental issues as a central

component in the field of Public History, editing an issue of the professional journal and as a theme for

two national conferences, one in Hartford in 2019. From 2010-2013, I conducted extensive research into

Connecticut forests and parks in anticipation of the centennial of the Connecticut Park and Forest

Commission. I presented conference papers (see CV), and published on the topic for

connecticuthistory.org (Connecticut Humanities), and I edited an issue of Connecticut Explored, the

popular history magazine of the state, on the relationship between Connecticut and the American West,

including the state’s influence on national public land policy and the activities of Samuel Colt involving

mining investment. I am currently co-editing a book on the cultural significance of trees in American

history, for which I wrote an essay that focuses on forestry in Connecticut.

        6.      I am currently contracted with the National Council on Public History (NCPH) and the

National Park Service to conduct a Historic Resource Survey of the soon to be established Coltsville

National Historic Park in Hartford, Connecticut.

        7.      I currently serve on the Connecticut State Historic Preservation Council, and the Boards

of Connecticut Preservation Action and on the Advisory Board of Wesleyan University’s Center for the

Study of Guns and Society, the first academic center in the U.S. dedicated to interdisciplinary humanities

study and teaching on the social and cultural history of firearms.

        8.      I am aware of this lawsuit, have reviewed the Amended Complaint (“Complaint”) filed

by David Nastri (“Plaintiff”) in this matter, and am familiar with the claims and allegations of the

Complaint.

        9.      I am being compensated for services performed in the above-entitled case at an hourly

rate of $100 for reviewing materials and preparing reports; and $150 per hour for depositions and court

appearances. My compensation is not contingent on the results of my analysis or the substance of any

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testimony.

        10.      The testimony in this Declaration is based upon a combination of my professional

training, research, and work experiences in my various academic roles; from personally reviewing

relevant documents, rules, regulations, and historical sources of information regarding the State’s parks

and forests. Any information I obtained from those outside sources is consistent with my own

understanding.

        11.      This Declaration is a presented in a form that is much different from academic writings.

It reflects an accurate recounting of my research and conclusions regarding this historical period and the

subject matter discussed. However, given the time constraints at issue in this case, as well as the fact is it

prepared in connection to a pending lawsuit, it is not drafted at the level of depth, nor with the historical

context and discussion of scholarship that would be expected for academic writing. Thus, I reserve the

opportunity to supplement this declaration to reflect any additional research or context that may be

necessary.

       Summary of Declaration


        12.      The idea of setting aside land expressly for public parks (primarily municipal and

national) began as a mid-19th century movement in response to the rapid urbanization and

industrialization of the East as well as the American West. The state park movement, based on similar

ideals, expanded primarily in the twentieth century when city parks grew insufficient and workers gained

access to automobiles allowing them to leave the city for less manicured and more “natural” and

meditative spaces.

        13.      The development of the state park system emerged through national and municipal

efforts, led by Progressive era ideologies, particularly notions of reserving certain lands “the greatest good

for the greatest number of people.” A great number of thinkers whose ideas helped define public land use

and management at all levels, hailed from Connecticut, one of the most industrialized states in the country
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in the 19th and 20th centuries. These included urban park designer Frederick Law Olmsted and his firm,

the first two Chiefs of the U.S. Forest Service, Gifford Pinchot and Henry Graves who introduced and

promoted scientific forestry in America, their protégé and Connecticut’s state forester, National Park

Service Directors Stephen Mather and Conrad Wirth, and finally, Austin Hawes, and the State Park

Commission’s field secretary, Albert Turner. The “park-builders” based their ideas about use and purpose

on philosophies of natural resource conservation, land preservation, and health, mental and physical.

These ideas and practices reflected anxious responses to the rapid changes that new technology, brought

by urbanization, the industrial economy, and western expansion.

        14.      Scientific forestry heavily influenced the management of Connecticut’s public lands, but

the recreational needs and desires of the public in the industrial state eventually demanded all public lands

serve multiple uses, regardless of whether lands were designated as “forests” or “parks”. While in the

West, most lands remained in the public domain, that was not the case in the original thirteen colonies

where land remained largely under private ownership. The state park system gained momentum with the

increase in leisure time, urban density, increased recreational access, and the proliferation of the

automobile, which allowed more people of all socioeconomic backgrounds, to escape the city for short

periods of time. However, the federal government, and each state, interpreted the management of their

natural resources and the uses of public lands differently.

        15.      Today, there are 110 state parks (c. 32,000 acres) and 32 state forests (c. 175,000 acres)

in Connecticut. Reports and correspondence regarding Connecticut’s state parks and forests since the

State Park (and Forest) Commission was formed in 1914 only refer to firearms in the context of hunting,

usually as one of the few examples of something the Commission should actually regulate and prohibit in

parks. As a general matter, the references to firearms in these sources are limited to outright prohibition of

carrying firearms in parks, or allowing carry for firearms for limited recreational purposes like hunting.

This prohibition was formalized in 1918 and posted on standard signage throughout the park system.

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From the beginning, primary function of state forests was always around the idea of public resource

conservation, particularly of trees for lumber, for the benefit of the greatest number of people.

        Open Space Preservation in 18th and 19th Century New England

        16.      As a site of early English settlement, Connecticut is steeped in Puritan tradition and work

ethic, famously anathema to the concept of “idleness,” or leisure. As Englishmen, they brought with them

the belief that property was a “natural right,” and land ownership equated to independence and self-

sufficiency. However, early New England towns featured centralized public land, known as commons, or

greens, for planting and shared grazing, around which many built their homes. According to some, the

tradition dates back to medieval England to protect livestock from wild animals, for use by commoners

who did not own much land, or for public markets and fairs, but that is still highly debated. English

colonists of the Connecticut Colony established a green as a central feature in the nation’s oldest planned

city of New Haven, Connecticut.1

        17.      As the primary public space in the community, “town greens” served as public gathering

spaces, particularly religious, and many historic churches continue to occupy prominent spaces adjacent

to these public spaces today. They also became sites for military exercises, public executions, and

sometimes dumping grounds for discarded household items. It was not until after the Revolutionary War,

in the 19th century, when improvements in roads allowed some people to move further away from the

town center, that the green became more of a commercial and civic center.

        18.      The landscaping and manicured, or “parklike,” maintenance of the green corresponded

with a larger movement, beginning shortly before the Civil War, to find way to beautify the increasingly

industrialized cities.

        Western Expansion, Industrialization, and Urbanization



         1
           Rob Shirley, Village Greens of England: a Study in Historical Geography, Durham theses, Durham
University, 11-12, 21 (1994). Available at Durham E-Theses Online: http://etheses.dur.ac.uk/6120/
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        19.      After the Civil War, the proliferation of the railroad and technology spurred settlement

out west. The urbanization of the agrarian nation, and the realization that not every part of arid western

lands could be farmed, became important factors in the federal government setting aside other lands for

public use. The modern notion of parks, which had begun in the years before the Civil War, evolved out

of a sense of anxiety over profound social and economic changes of “modern” life.

        20.      In 1872, Congress reserved and established the first national park in Yellowstone “for the

benefit and enjoyment of the people.” To “provide timber for the purposes of western agrarian

settlement,” the Department of Agriculture created a Division of Forestry in 1881, eventually becoming

the U.S. Forest Service in 1901.2 Both public forests and parks served to protect natural resources, but

forests followed the progressive idea of efficient resource use for the “greatest good” of the most people.

Parks served to preserve natural resources for the enjoyment and benefit of present and future generations.

        The Progressive Era: Conservation vs Preservation

        21.      Conservation and development seem like opposing inclinations, but Connecticut residents

redefined this complex relationship over time and influenced our nation’s perception of those terms as

well. In 1910, Gifford Pinchot of Simsbury, the first chief of the United States Forest Service (and the

founder of scientific forestry in the United States), asserted that, “The first principle of conservation is

development, the use of natural resources now existing on this continent for the benefit of the people who

live here now. There may be just as much waste in neglecting the development and use of certain natural

resources as there is in their destruction.”3 His ideas reflected the Progressive Era, a time when the

proliferation of technology spurred an industrial economy. Reformers protested against corruption and the




         2
           Harold K. Steen, The U.S. Forest Service: A Centennial History (Seattle, WA: University of Washington
Press), 3-21.
         3
           Gifford Pinchot, “The Fight for Conservation,” 1910. (University of Washington Press, 1967), reprint, 42-
43.


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consolidation of wealth, which compromised the values of equality in the United States. For many, like

Pinchot, this imbalanced allocation of resources included natural resources. Pinchot found a like mind in

President Theodore Roosevelt, a well-known supporter of progressive reforms. Both embraced a

conservationist philosophy that discouraged waste and advocated the scientifically planned development

of natural resources, particularly forests, for the benefit of the public good- “the greatest good to the

greatest number of people for the longest time”— often, but not always, defined in economic terms.

        Parks in America: National, Municipal, and State

        22.      Neither the public, nor Congress, trusted the Forest Service to protect cherished sites of

natural beauty, but both Pinchot and Henry Graves, Dean of the Yale School of Forestry and a Chief of

the USFS, insisted that creating a park board, in addition to the Forest Service, was “No more needed than

two tails to a cat.”4 Congress dismissed their view by establishing the National Park Service (NPS) within

the Department of the Interior in 1916 to protect exceptional lands for “public enjoyment.”

        23.      Distraught over the idea of two agencies with overlapping resources operating in two

different agencies, Graves argued that the Forest Service was not anti-park, but they were different in

purpose, not administration. Forestland produced lumber and public forests served as demonstration areas

of scientific forest management. The nation could preserve park resources, but only until the citizens

needed them.5 Graves insisted that forests were multi-use: Recreation was compatible with commodity

uses like water resource protection, timber, mining, and grazing in the national forests, which created

conditions for “settlement, mining, timbering, grazing, and summer homes.”6 He increased recreational

options in the forests and pushed to craft some kind of cooperative agreement in forest management with

NPS Director Stephen Mather.7


        4
          Steen, 113-114
        5
          Steen, 115-116, 119.
        6
          Steen, 118.
        7
          Steen 120-122.
                                                       7
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        24.      At the same time, Graves encouraged states to establish permanent state forests with

objectives suitable to their economic needs. However, his ideas about state forests ironically carried less

weight in his home of the Northeast than the West or South, recipients of more government land grants.8

        Frederick Law Olmstead and Municipal Parks.

        25.      This philosophical and rhetorical struggle over the proper use and administration of parks

and forests on the national level had roots in local, municipal responses to its industrial and urban

development in the Northeast particularly. In the East, industrialization heightened the desire and need for

parks. Municipal parks proliferated throughout the region since the 1850s, shaping public perceptions of

state parks and forests. Not so different from the agrarian ideals that pulled 1840s Americans westward

and shaped western land policy, New England’s brand of conservation also fused agrarianism with

“newer Romantic, urban-based visions of the forest.”9

        26.      Cities looked to set aside nature for the enjoyment of urban workers and in the 1870s,

Frederick Law Olmsted, who was designing New York City’s Central Park by the 1850s, and was

instrumental in designing Hartford’s park system, began work on Walnut Hill Park in New Britain,

Connecticut. Municipal park design essentially began with the Hartford-born Olmsted, who witnessed

how growth of Connecticut cities and industry had transformed the state’s rural landscapes and

homogenous population, not to mention the nation’s incorporation of over half the lands in today’s

American West through migration and war. In all, the state commissioned almost 300 jobs from Olmsted

and his firm over the course of a century.

        27.      Olmsted’s parks echo the aesthetic of the Hudson River Valley (HRV) school of painters

he surely viewed as they later translated their naturalistic landscape vision to western lands depicting vast


        8
           Henry S. Graves, “A Policy for Forestry for the Nation,” Washington, DC: United States Department of
Agriculture, Circular 148, Office of the Secretary, December 1919, 5.
         9
           Richard William Judd, Common Lands, Common People: The Origins of Conservation in Northern New
England (Cambridge: Harvard University Press, 2000), 91; Ney C. Landrum, The State Park Movement in America:
A Critical Review (Columbia, MO: University of Missouri Press, 2004), 15-20.
                                                       8
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fields and vistas, majestic mountains, and calming lakes and streams, where man was inconsequential,

luring out thousands of explorers and homesteaders. Hartford’s Frederic Church, the founder of the HRV

painting school, was an early advocate of national parks, particularly Niagara Falls in New York, now the

nation’s oldest state park in 1885.10 These images convinced many Americans that nature was important

to physical, emotional, and mental health, but defined the spiritual core of a newer nation, the equivalent

of the cathedrals of Europe. They inspired the government to establish its first preserve in Yellowstone

National Park in 1872. Like the popular HRV School and other nineteenth century landscape painters,

Olmsted advocated the park as a pastoral and naturalistic landscape, where urban residents could feel

invigorated and escape the harsh realities of industrial work without losing the comforts of the city.

         28.      Hartford influenced Olmsted, who in turn influenced land use and the development of

parks in Connecticut. In addition to his own experience as a child growing up in pre-industrial Central

Connecticut River Valley, Olmsted also developed his philosophy about the influence of natural beauty

on moral and social behavior from close family friend and spiritual advisor, Reverend Horace Bushnell.

Bushnell’s sermons, in “Unconscious Influence,” and others in the Transcendentalist movement (Ralph

Waldo Emerson and Henry David Thoreau) of the 1820s and 30s surely inspired young Olmsted’s ideas

about nature and “public parks as instruments of moral influence and reform and the value of passive

recreation and unconscious mental and spiritual refreshment…” as well as communal well-being as way

of coping with and healing from the stresses of industrial New England’s industrial revolution.11 In

Hartford, Bushnell Park became the nation’s oldest publicly funded park in the country, conceived by the

Reverend Bushnell in the mid-1850s, prior to Olmsted’s work on Central Park in New York City.




         10
            California first designated Yosemite a state park, but Congress later designated it as the second national
park behind Yellowstone.
         11
            “Olmsted in Connecticut: Landscape Documentation Project, Statewide Context and Survey Report
(September 2022), 20-25, 58-59; George Scheper. “The Reformist Vision of Frederick Law Olmsted and the Poetics
of Park Design,” The New England Quarterly 62: 3 (1989), 378.
                                                          9
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        29.      After New York’s Central Park, Connecticut’s cites of Hartford, New Haven, Stamford,

Bridgeport, Waterbury, Norwich, New Britain, Meriden, and New London began establishing parks in

1860s, joined by Chicago in 1869, Boston in 1893, and Providence, Rhode Island in 1904. As in the

West, anxiousness about urbanization overtaking rural and “natural” places and the proliferation of urban

power helped create support to establish national parks. Worker volatility contributed to support for urban

parks. However, people disagreed as to whether parks served a therapeutic role or that of amusement

and/or activity.12

        30.      Not everyone seemed to understand the concept and the use of a park in the same way.

Socioeconomic interpreted recreation in different ways. Genteel ideas about recreation like that of

Bushnell and Olmsted, stressed receptive (or passive) recreation (arts, music) to restore the soul.

        31.      Conrad Wirth, who served as NPS Director in the 1950s, began his memoir quoting

Transcendentalist Henry David Thoreau. He then wrote, “The importance of reserving space for what we

have come to call recreation has long been understood.”13 So, it is not coincidental that like other New

England states, Connecticut’s approach to designing a park system evolved out the same urbanization

conditions as the national and urban parks, but as the birthplace for ideas about American conservation

forestry, Connecticut itself greatly influenced by the 1920s national and state park movement.

        Conservation in Connecticut

        32.      Urban development strained the state’s natural resources and prominent, concerned

citizens found ways to set aside certain places for preservation without significant opposition. As a center

of the country’s industrialization and manufacturing, Connecticut naturally became a leader in public park


         12
            Roy Rosenzweig, Eight Hours for What We Will: Workers and Leisure in an Industrial City, 1870-1920,
Interdisciplinary Perspectives on Modern History. Cambridge; New York: Cambridge University Press, 1985);
Alexander Von Hoffman, Local Attachments: The Making of an American Urban Neighborhood, 1850 to 1920
(Johns Hopkins Paperbacks Ed., 1996. ed. Creating the North American Landscape. Baltimore: Johns Hopkins
University Press, 1996); Stephen Hardy, “Parks for the People: Reforming the Boston Park System,1870-1915,”
Journal of Sport History 7:3 (Winter 1980), 5-24. 18
         13
            Conrad Wirth, Parks, Politics, and the People (Norman: University of Oklahoma Press, 1980), 3-5.
                                                      10
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development. The state’s growing population pushed for large areas for recreation that would be protected

from any development and accessible by the increasing popular and affordable automobile transportation

and expanded roads. Those desires would challenge the conservationists’ approaches to managing large

acres of forests, their watersheds, and undeveloped, open spaces in Connecticut. State policy had to

balance economic development with the nurturing and protection of natural resources.

        33.      Into the 1920s, some of the nation’s most prominent foresters and conservationists,

particularly Gifford Pinchot, Henry Graves, and their protégé, longtime Connecticut State forester and

fellow Yale alumni Austin Hawes and Park Commission Field Secretary Albert Turner, influenced the

design of an administrative structure for managing the state’s natural resources in both forests and parks

within the conservationist philosophy of managed use and public benefit. Those preserves were,

ironically, not primarily for preservation and recreation, but for conservation (protection, controlled

development, and equitable economic use).

        34.      The state established a Board of Agriculture as early as 1866 and opened Agricultural

Experiment Stations, research centers associated with land-grant universities in Middletown, New Haven,

and Storrs, but by the 1890s, citizens feared for Connecticut’s natural resources.

        35.      In 1901, private citizens, particular the Connecticut Forest and Parks Association, lobbied

the state’s General Assembly to develop a forest policy, appoint a state forester and town tree wardens

placing the public tree planting, especially by the roadside, under public supervision. The group also

successfully lobbied to use state funds to purchase land for the establishment of state forests. Connecticut

was the first state to establish a State Forester and to purchase state forests.

        36.      Meanwhile, as municipal parks and the national parks grew in popularity, and three years

before the establishment of the National Park Service, cities could not meet the demand. As access to

cars allowed more people to travel out of the city as a further escape valve for the congested urban cores.

National Parks were primarily located in the West, beyond the means of most Connecticut workers. New

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York had established Niagara Falls (to join the forest preserves of the Adirondacks and the Catskills). In

1911, the General Assembly of Connecticut appointed three State Park Commissioners, Morton Plant,

Edward Bradley, and Lucius Robinson, to explore the park idea. Only the Wisconsin State Park

commission and Massachusetts Board of Trustees of Public Reservations (1891) convened earlier.

        37.      At first, the Commissioners saw their role only as one of reconnaissance: assessing the

need and most desired locations for state reservations and balancing recreation with the conservationist

needs of forests. The report predicted Connecticut’s parks would be managed on the model of the national

ones: leasing camps, cottages, and other accommodations, and regulating hunting and fishing activities

“with certain restrictions.” Notably, the state forester would still manage all timber lands. “In this way, if

properly managed, such parks would soon pay for themselves.” They recommended the establishment of

a permanent Commission of five members, empowered to have staff to accept gifts, purchase, and

administer properties. James Goodwin of Hartford, a recent graduate of the Yale School of Forestry,

served as the first Field Secretary through whom the commission surveyed town officials. Target areas

included seaside parks not under the jurisdiction of large cities.14 Upon the Commission’s

recommendation, the General Assembly passed legislation for a permanent commission of 5-7

commissioners, with the state forester as ex-officio.

        38.      The Commission also defined the relationship between state parks and forests: “The

relationship between state parks and state forests is close and they have many features in common,

although their essential purposes are quite distinct and should not be confused. State parks are primarily

for public recreation, or for the conservation of natural scenic beauty, wildlife and sites of historic

interest. Logically they must be game sanctuaries, but fishing may well be encouraged. The practice of

forestry and the production of timber, when not inconsistent with its main purpose, may be included in the



        14
           Report of the State Park Commission: Commission Appointed by the General Assembly of 1911: Report
Presented to the General Assembly of 1913., 1913. Connecticut State Library, Hartford, CT., 14-21;
                                                        12
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park program. State forests, however, have for their primary object the production of timber as an

economic proposition, which involves the systematic management of large areas of forest land for long

periods of time. Such land may have little of park quality at the time of acquisition, but with the growth of

timber it will gain in scenic beauty and perhaps in recreational value. Recreational use of state forests

may, therefore, become an important secondary purpose which should not be overlooked. And later,

“Timber lands should be under the care of the state forester and no trees should be cut, except with his

permission.” “… if properly managed, such parks would soon pay for themselves.”15

        39.     According to the first state report (1913), the rationale for the establishment of the

Commission rested heavily on the perception that modernity had destroyed leisure and family time and

the worker was in desperate need for outlets of recreation. This idea seemed to rely heavily on the

“American Park Idea” as articulated by Horace McFarland, President of the American Civic Association

and a key figure in the City Beautiful Movement. In his 1910 convention speech, McFarland argued that

like the ideas for municipal parks in the 1850s, county and state parks could also serve a broader purpose

that fell somewhere in between the city park and the national park. “If, when a natural wonder is found to

be of national importance and to need national protection, it may properly be controlled by the nation,

surely a location or opportunity too large for local or municipal control may as properly be controlled by

the state.” In line with other proponents, he agreed that state parks “must be unmistakenly beautiful, they

must present to the enjoyment of all some consistent unspoiled type of landscape.” He added that they

should be accessible by the public and ideally connected by parkways—so he sees the park system and

recreation as integrated and consistent with to auto transportation through parkways criss-crossing the

state. They should lie no more than a day’s travel to industrial populations. Ideally, a state should hold

and ace of land per 1000 population. “Trees,” he added, “are almost essential…The relation of State Parks



        15
           Report of the State Park Commission: Commission Appointed by the General Assembly of 1911: Report
Presented to the General Assembly of 1913., 1913. Connecticut State Library, Hartford, CT.
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to State Forests is not mine to discuss.” But he pressed for recreation in both and shared the suspicions of

many post-Hetch Hetchy conservationists: “As yet, State parks are not safe in the unguarded custody of

the forester, and if we have worthwhile state parks, they must be administered as such.” Seemingly as an

afterthought, he added that another characteristic of the state park “may well be the inclusion of historical

sites, to be suitably and permanently marked so that in a sense of life of the state as man has dealt with it

is preserved for future generations, as well as the natural features of the state as Nature made them. Not

infrequently both of these characters may be combined to advantage in one state.”16

        40.      The establishing legislation granted the all-volunteer Commission power to acquire

public open spaces by purchase, gift, or devise, lands or right – for the purposes of public recreation or the

preservation of natural beauty or historical association and, among other authority, “to have charge and

supervision of such lands, or to cooperate with various specified local authorities in such care,” “to have

large powers over the care and regulation of all tracts within their jurisdiction and over the use of the

same by the public,” and notably “to have power to accept in behalf of the state any unconditional gifts of

tracts, which in its judgment would be desirable for state reservation…” 17 Upon hire of field secretary

Albert Turner, the Commission first looked to the shoreline and other water sites, complicated by the

numerous privately owned summer cottages, many owned by out-of-state residents. The survey identified

only five possible shoreline sites, purchasing its first property in Westport (now Sherwood Island State

Park). Other purchases include land along the bank of the Connecticut River in Chatham, and lakefront in

Litchfield and Washington. These provided the first (historic-based) parks. In the case of Sleeping Giant

State Park in Hamden, a private group of citizens worked for years to end quarrying and to secure the



        16
            J. Horace McFarland, President, American Civic Association, “A Brief Discussion of the Later
Development of the Recreation Movement” by J. Horace McFarland, President, American Civic Association,
Washington Convention, December 14, 1910, SFPC, Wilkins, Documents 1909-1915, State Archives; McFarland,
“State Park- Their size and character” Parks and Recreation, volume 5, p. 471. 1921-22.
         17
            Report of the State Park Commission: Commission Appointed by the General Assembly of 1911: Report
Presented to the General Assembly of 1913., 1913. (Connecticut State Library, Hartford, CT), 31-31.
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lands for preservation, turning it all over to the state in 1924. Alain Campbell White, with his sister May,

established the White Memorial Foundation and began buying large parcels of land for conservation and

preservation in memory of their parents. White would later serve as President of the Connecticut Forest

and Park Association. In a speech to the Garden Clubs of America in December of 1920, he discussed the

Connecticut’s parks and forests, he listed recreative opportunities, including camping, motoring, boating,

swimming, climbing and fishing, noting that the Commission hoped to make as few restrictions as

possible. However, he then noted that “hunting is not allowed,” and the largest park, Macedonia Brook, is

patrolled, anticipating that others would also be patrolled with additional funding.18

        41.      State Park Commission Secretary Field Secretary Albert Turner saw the definition of

parks as fluid, but consistently stressed the conservationist philosophy that conceived parks and forests as

shared, public spaces set aside for the “greatest good for the greatest number of people.” As far as the

“proposed rules and regulations for use of the State Parks,” he asked that Commission “to make the rules

as few and simple as is consistent with the preservation of the public property and individual freedom. In

general, that measure of freedom may be permitted which does not interfere with the rights or enjoyment

of others, pollute the waters, or injure the forest-growth. This would involve the prohibition of firearms,

but not the gathering of nuts, berries, or wild flowers….”19 In 1918, the Commission adopted a general

“form of notice,” to be posted in all parks addressed “To the Citizens of Connecticut,” explaining that the

state park “belongs to you,” the general public. It stated that “there is a reason for every rule and

regulation made… It is desired that this park shall be used for picnic parties, camping, and outdoor life by

the people of Connecticut, provided the park is used in a wholesome and reasonable way, and the trees,

shrubs, and plants are not injured, and all rubbish is placed in receptacles prepared for it, or buried, or

burned. The People using this state park should not monopolize it, nor disturb, nor unpleasantly intrude


        18
           Alain White, for Garden Clubs of American, Dec 1920. Series 2, Box 3, Folder 1, RG 079:017 State Park
and Forest Commission, Connecticut State Archives, Hartford, CT.
        19
           Annual Report, Report of State Park Commission, 1914, 29.
                                                      15
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upon other parties using it.” Fires outside of stone fireplaces were prohibited, and “the use of firearms or

having then in your possession is forbidden, also the killing or disturbing of wild animals, birds, or birds’

nests.” 20

         The Connecticut State Park (and Forest) System


         42.     In order to protect the exclusiveness of the National Park designation, National Park

Service Director and Connecticut-native Stephen Mather organized the first meeting of the National

Association of Parks in Des Moines, Iowa in 1921. This National Conference on (State) Parks grew out of

the National Park movement.21 Its stated objective was "to urge upon our governments, local, county,

State, and National, the acquisition of additional land and water areas suitable for recreation, for the study

of natural history and its scientific aspects, and the preservation of wild life, as a form of the conservation

of our natural resources, until there shall be public parks, forests, and….”22

         43.     The definition of a park, however, varied by state, and Mather believed each state should

determine its own park development. As Historian Rebecca Conard observed, “A common vision of parks

as special places, whether they be they valued for their scenic quality, their recreational amenities, their

scientific attributes, or their educational potential, makes it incumbent that public land management

agencies serve as society’s fulcrum to balance demands of ‘the public’ who would enjoy parks to

environmental ruin with those of ‘the public’ who would unnecessarily limit access to them.”23

         44.     Albert M. Turner, the Field Secretary Connecticut’s State Park Commission hired in

1914, served on the organization’s executive committee. That same year, Turner implored the newly



         20
            Report of the State Park Commission, State of Connecticut (1918), 30-31.
         21
            Ney C. Landrum, The State Park Movement in America a Critical Review, 2004; State Park Anthology:
Rebecca Conard, “The National Conference on State Parks: Reflections of Organizational Genealogy,” George
Wright Forum 14:4 (1997), 47-93.
         22
            Conard, 35.
         23
            Conard, 40; Stephen Mather to Albert Turner, February 6, 1922. Series 2, Box 3, Folder 1, RG 079:017
State Park and Forest Commission, Connecticut State Archives, Hartford, CT.
                                                       16
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founded National Conference on State Parks to distinguish forests and parks. “We have supposed the

Park to be first of all for recreation, and the Forest for economic purposes- to wit, namely to grow timber.

This subtle distinction seems to be confined almost entirely to the old Nutmeg state…”24 That distinction

worked because when the Commission acquired administrative oversight of state forests, starting with the

privately donated 4,000-acre Peoples’ Forest, it allowed the new state forester, Austin Hawes, to practice

scientific forestry for economic development essentially independently for over twenty years, while a

superintendent managed the parks for aesthetic and recreational enjoyment. Even the private Connecticut

State Forest Association added “and park” to their name, thus including recreation in their mission of

scientific forest management (a move that divided association members).25

        45.      As Douglas McDonald also observed in his 1969 dissertation on the multi-use forest,

“The State Forester, Hawes, stressed recreation as a subsidiary benefit of the state forests. Although he

claimed that state forests should serve the interests of all classes of people, he made sure that as small a

portion of the forestry appropriation as possible was spent on objectives other than timber production. For

this reason, he emphasized extensive forms of recreation which did not hinder timber and required only a

low development cost.” He stressed that forests must be “maintained in a wild condition without any of

the attractions to draw a crowd, and the true measure of their value for recreation is the number of acres

per person rather than the number of people who use them.”26

        46.      Field Secretary Albert Turner, who trained at Yale like the state’s foresters, was an

intellectual at heart, but he was far more confused about what was driving his charge for reviewing and

acquiring lands, and he wrote about extensively and exhaustively. In his first report, later published in an



         24
            Turner to Miss Harlean James, December 31, 1921, Series 2, Box 3, Folder 1, RG 079:017 State Park
and Forest Commission, Connecticut State Archives, Hartford, CT.
         25
            “Report of the Sub-Committee of State Forests 1943-45, Box 1, Folder 26, MS 637, Austin Foster Hawes
Papers; George McLean Milne, Connecticut Woodlands: A Century’s Story of the Connecticut Forest and Park
Association (Connecticut Forest and Park Association, 1995), 15, 23.
         26
            McDonald, 99-100.
                                                      17
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anthology by the National Conference on State Parks, he candidly complained about the pace of private

land acquisition for parks in the state. Due to the lack of public lands, he lamented, “… the state park

remains an idea only.” He argued that “At the end of a week or a month or a year, or in some cases

possibly a lifetime, the city sights and sounds and pavements become unbearable, and a rest and contrast

become necessary to sleep at night…The public park reservation, or open place, (and the old word

“common” seems perhaps best of all) is the natural solution of these new troubles, and the people of New

York and Massachusetts have evidently discovered this about a generation ahead of us.” 27

        47.        Turner laid out his “system” approach, which other state park officials would cite as a

model for other states, as well- stressing such factors as natural suitability, beauty, fitness; historical or

traditional association; distribution with regards to centers of population, size, accessibility, and level of

development of park properties. Finally, he stipulated that such places should have low agricultural value,

but recognized that the fact that Connecticut was increasingly more industrial than agricultural was the

reason for parks in the first place.28

        48.        Unlike many of his peers, Turner’s ideas about public land use aligned with the Yale-

trained foresters and he wrote prolifically about those ideas in letters, reports, and speeches. He believed

that state parks had a specific purpose quite different from city parks, which were more art than science,

more “museum-like” than natural. State parks provided a more natural, less landscaped aesthetic to the

controlled movement and limited recreative options in the Olmstedian city parks, without departing from

those basic values. “Let the formal museum stay in the city where it is now, and have field study in the

field,” wrote Turner. Turner wrote State Park Commissioner Herman H. Chapman, also President of the

Society of Foresters and Yale faculty, that he approved the appointment for the State Park Superintendent,

Hartford’s Park Superintendent and the aptly named George Parker, because he drew a clear distinction


        27
             Annual Report, Report of State Park Commission, 1914, 21-23.
        28
             Annual Report, Report of State Park Commission, 1914, 23-20.
                                                        18
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between a state and city park.29 Furthermore, Turner wrote that, “The State Park is much more closely

allied to the idea of a National Park and the [Connecticut] Act of 1913 repeatedly enumerates the

purposes of recreation, preservation of natural beauty, or historic association, and for the purposes of

recreation...”30

        49.        By the end of 1920, the state boasted four public forests, with another on the way, almost

4500 acres. The Commission had acquired 25 parks totaling just over 5000 acres. The 1920 annual report

continued to debate the purposes of state parks: public recreation, historical association, and/or natural

and scenic beauty. Turner began to emphasize a state park’s purpose as one of public mental health, an

essential refuge from the stresses of modern urban life, and he decried the carrying and use of firearms as

an example of something to be avoided in parks, even for a recreative activity like hunting:

        Why do we issue hunting licenses by tens of thousands to “sportsmen” who frequently tramp
        the woods all day without getting a legitimate shot at a moving thing? Must we forever be
        condemned to carry a gun as an excuse for the pleasure of walking in the woods? Of course, just
        to walk in the woods for pleasure would be idleness pure and simple- conspicuous and
        unashamed idleness, and not to be seriously thought of or condoned in New England. It is
        respectable to be idle only when Nature finally rebels and the doctor, for a consideration, send
        us to the sanitarium- a healthy place for the unhealthy, if we go to the root of this lovely word.31

        50.        The recreational demands of the 1920s further shifted Connecticut’s conservation efforts

from private activism to public responsibility. Unlike management at the national level, where different

Departments, that of Agriculture and the Interior, respectively, administered the forests and parks,

Connecticut developed a single body for oversight of its natural and historic resources. In 1921, the State

Park Commission became the State Park and Forest Commission and assumed responsibility for

appointing the Superintendent of Park and State Forester, who would head separate operation


        29
            Turner to Chapman, February 10, 1917, Series 2, Box 1, Folder 1B, RG 079:017 State Park and Forest
Commission, Connecticut State Archives, Hartford, CT.
         30
            Obituary, A.M. Turner, 76, Dies in Litchfield, The Hartford Daily Courant, June 29, 1944. He received
the Pugsley Medal in 1933 for his service, American Scenic and HP society awarded at Conference. Turner later
named Director to the Board in 1936 in Hartford.
         31
            Report of the State Park Commission to the Governor, 1920, 23. Connecticut Digital
Archive, http://hdl.handle.net/11134/30002:21895214.
                                                        19
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administrations. To separate interests and expertise.32 Unlike forest and park management at the national

level, where the Departments of Agriculture and the Interior respectively administered the lands (an issue

of great dismay for conservationists Pinchot and Graves), Connecticut developed a single body for

oversight of all natural and cultural resources, specifically because both addressed recreational needs.

        51.     In addition to forming a clear definition of purpose, a preponderance of privately owned

land in the state proved a challenge for public land acquisition. Whereas most of the lands in the

American West were largely still under federal ownership, Connecticut mostly had to acquire its public

lands from private gifts or fund for purchase. The 1914 report stipulated that the Commission should be

permitted reasonable latitude for the use of such funds. In some cases, private citizens’ groups worked to

achieve state protection for valuable recreational sites. For example, the Sleeping Giant Park Association

successfully lobbied to protect the Mount Carmel site against quarry operations through park designation.

Similar local groups in Stamford (Laddin’s Rock) and Westport (Sherwood Island) worked with the

Connecticut Forest & Park Association (CF&PA), a nonprofit, non-governmental group active since

1895, to establish conservation areas. Such partnerships brought the conservation-minded organization,

which had previously focused on the preservation, restoration, and scientific maintenance of forests, into

the realm of recreational development.

Depression-era Programs Advance Conservation Projects

        52.     The Great Depression provided additional opportunity for state conservation efforts

through the Civilian Conservation Corps (CCC), initiated in 1933 and one of the flagship work programs

of President Franklin Delano Roosevelt’s New Deal.

        53.     The Great Depression was therefore a boon for its recreational and economic forest

development. Under Hawes, Connecticut’s 21 CCC crews built hundreds of miles of hiking trails, access



        32
           See Wooden Nutmeg XIX (December 1943), 10.Connecticut Digital
Archive,MYYUMIQMFSIQJSJY
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roads, sawmills, dams, picnic areas, trails, swimming ponds, and fire towers throughout the forests. In

addition to creating accessible preserves, Connecticut’s CCC helped the state revive a commercial forest

products’ business by helping to build wood treatment plants, charcoal kilns, and a state sawmill. They

even harvested ice from state forest ponds for commercial sale. The CCC also developed a state trail

system, passing through public and some private lands, with miles of hiking, bridle, and ski trails marked

by blue paint (the Connecticut Blue Blazed Trail System, now 700 miles).33

        54.      Yet of this activity further confused the role of forests and parks in a rapidly

industrializing state. Opposing philosophies of nature—one advocating carefully managed resource use

and the other promoting preservation and recreation—inevitably encountered conflicts. Indeed, the

increased access allowed more interest on recreational use. Hawes reluctantly admitted that, “There is

evidently a relationship between the recreational use of the forests and economic conditions. The use of

the forests for this purpose has at least doubled during the past two years. This is partly due to improved

facilities and more widespread knowledge of the forests, and partly to the need of the public for cheap

recreation.”34

Park Use and the Triumph of Recreation

        55.      The developments in the 1930s combined with rising popularity and access of the car,

increased recreational demand. This meant more visitors, fewer appropriations for acquiring additional

lands.35 The 1935 report examined recreation on public lands called vehemently for money to further

develop and acquire parks or else cause bigger problems, and outlined five recreational divisions in the

state: parks, forests, fisheries and game, historic sites and monuments, state highways. Only the parks had




        33
           “An account of my last visit with Gifford Pinchot written immediately afterwards,” Box 1, folder 24,
Austin Foster Hawes Papers.
        34
           Report of the State Forester, 1932. Tenth Biennial Report of the State Park and Forest Commission to the
Governor, 1932. State of Connecticut; Public Document No. 60), 106.
        35
           The Development of State Provision for Recreation in CT, 1935. CT State Planning Board, 5-6.
                                                        21
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recreation as a primary purpose. The report argued that recreation served as state priority, and expert-

endorsed “… solution to the mental and physical damage of growing city/ urban lifestyles.” It claimed

that “we live in a time when the functions of government are constantly being added,” but the report

argued that care of the “insane and other mental defectives” demanded General Assembly attention to

alleviate mental disorders.36

         56.     In 1944, the SPFC had begun pushing for a more social purpose, than an economic

mission for public lands, particularly forests which had previously focused more on environmental and

economic purpose. This meant increased recreational opportunity in state forests: “ The controlling over-

all policy of the (Park and Forest) Commission in the discharge of its duties is the proper utilization of all

lands under its supervision, including both forests and parks, and to provide the maximum practical

recreational facilities for the greatest number of Connecticut residents, consistent with the conservation of

natural resources on such lands...In providing recreational facilities, aesthetic as well as practical

considerations will govern. The immediate objective of the Forestry Division shall be the restoration of

natural resources, the reclamation of eroded, cut-over, or abandoned lands, the providing of greatly

increased opportunity for outdoor recreation and the protection and enhancement of the natural beauty of

the state.”37

         57.     After the war, post-war housing and commercial building, the proliferation of the

automobile, and demand for local leisure opportunities positioned conservation efforts as the foe, rather

than a partner, of development. The automobile raised demand for local leisure opportunities by the

general public, nationally and in the state. While Connecticut’s industries expanded and spurred urban

development, forests increasingly became multi-use.38


         36
            The Development of State Provision for Recreation in CT, 1935. CT State Planning Board, 5-6.
         37
            Sixteenth Biennial Report of State Park and Forest Commission to the Governor, June 30, 1944 (1-2, 7).
         38
            MacDonald, R. Douglas S. “Multiple Use Forestry in Megalopolis: A Case Study of the Evolution of
Forest Policies and Programs in Connecticut,” (New Haven: Yale University, 1968), 5.
                                                        22
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        58.      Although there was profound disagreement over the particular uses of forests and parks,

use of firearms was not part of this schism. The Commission continued its ban on firearms in the parks,

and allowed hunting and other “exertive recreation” in most forests with limitations.

        59.      Upon the request of the Commission, an independent group evaluated the Commission in

1946 consulted with governor’s office, interested groups around the state, advisors. It concluded that the

statutory authority of the Commission over the acquisition, maintenance, and control of Parks

recreational, scenic or historical lands, was “both clear and broad.” It recommended that statutes and

policy “all responsibility and authority for parks and forests” the Commission, which should act as an

“operating” body, rather than just an advisory one.39 In 1949, the Department of Natural Resources

eliminated any administrative distinction between forests and parks. 40

        60.      This Declaration is based on my previous research of State Park and Forest Commission

reports and correspondence. In initially conducting this research, however, I was not looking specifically

for references to firearms and hunting. In reviewing that research for the purposes of this Declaration, I

have combed through hundreds of documents discussing and debating the purpose and use of parks,

searching for definitions of parks and forests, and this time, also for references to firearms. There may

some more explicit discussion of prohibition or regulation in documents like land deeds that may include

provisions beyond maintenance, or patrolling reports, that could imply something more specific about the

regulations. There are also likely additional resources such as sermons, other literary writings, and

correspondence that provide evidence of intent for these public land reservations, or further insight into

the values and definitions around recreation, including additional evidence regarding public attitudes

towards firearms in these spaces.




        39
            General Survey, Connecticut State Park and Forest Commission, Barrington Associates, 17. Connecticut
State Library, Hartford Connecticut.
         40
            McDonald, 206.
                                                       23
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Pursuant to 28 U.S.C. § 1746, I, Leah Glaser, state under penalty of perjury that the foregoing declaration

is true and accurate to the best of my knowledge, information, and belief.




          March 29 2023
Executed: ________,                                      ______________
                                                                     _ ______
                                                         ____________________

                                                         Leah Glaser




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                 Attachment 1
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                                          Leah S. Glaser, PhD
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EDUCATION
Arizona State University, Tempe, AZ                                                                      May 2002
Doctor of Philosophy in American History
Fields: Public History, U.S. History from 1865, American West
Dissertation: “Rural Electrification to Multiethnic Arizona: A Study in Power, Urbanization, and Change.”
Advisors: Jannelle Warren-Findley, Peter Iverson, Robert Trennert, Vicki Ruiz
Master of Arts in Public History: Historic Preservation emphasis.                              December 1996
Thesis: “The Story of Guadalupe, Arizona: The Survival and Preservation of a Yaqui Indian Community.”
Tufts University, Medford, MA
Bachelor of Arts in History and Art History.                                                           May 1992
Syracuse University, Florence, Italy                                                                    Fall 1990
TEACHING
Central Connecticut State University, New Britain, CT
Coordinator, Public History Program                                                  Spring 2014- present
Professor of History                                                                     Fall 2017-present
Associate Professor of History (tenured)                                           Fall 2011-Spring 2017
Acting Coordinator, Public History Program                                         Fall 2009- Spring 2010
Assistant Professor of History                                                                   Fall 2006
HIST 511: Historic Resource Preservation and Planning (Graduate)
HIST 510: Seminar in Public History (Graduate)
HIST 502: Historiography: American West (Graduate /team-taught)
HIST 405/505/LTN 470: Local History and Community Development (Undergraduate/ Graduate)
HIST 492: Public History Intern Experience (Undergraduate)
HIST 302: Introduction to Public History (Undergraduate)
HIST/LTN 316: History of the American West to 1890 (Undergraduate)
HIST/LTN 317: History of the from 1890 (Undergraduate)
HIST 305: Connecticut and the Nation (Undergraduate online)
HIST 301: The Historical Imagination: Immigration/ Mexican Immigration and Labor/
American West/ Borderlands/ Japanese Internment/The 60s (Undergraduate)
HIST 162: History of American Life II (Undergraduate /classroom and online)
Supervise internships for MA in Public History (2-4 annually)
Supervise capstone projects for MA in Public History (39 to completion)
1. Valerie Chase, “A Study of House Museums and Why Reinterpretation is Vital,” Program, w/ Prudence Crandall
   Museum, Canterbury, CT, 2022.
2. Ryan Cafaro, “Industrial Valley: The Story of Industrialization and Deindustrialization in the Lower Naugatuck
   Valley,” Exhibit, w/ Derby Historical Society, Derby, CT, 2022.
3. Eric Ott, “Invisible Legacies: The Past and Present of Hartford’s Potsdam Worker House Community in
   Coltsville, A Potsdam Worker Houses Historic Resources Survey ,” Historic Resource Survey w/ Coltsville
   National Historical Park, Hartford, CT, 2022.
4. Christina Volpe, Amendment to National Register Nomination of the Cass Gilbert National Register Historic
   District, Waterbury, Connecticut w/ State Historic Preservation Office, Hartford, Connecticut, 2021.
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5. Elizabeth Correia, Draft, National Register Nomination of Congregation Mishkan Israel, w/ Congregation Mishkan
    Israel, Hamden, Connecticut, 2019.
6. Gabriel Benjamin, “A Story of Survival: A History Harvest within the Golden Hill Paugussett Tribal Nation,” in
    association with the Institute for American Indian Studies in Washington, Connecticut, 2019.
7. Regan Miner, “Village Districts: Placemaking through Preservation: Design Guidelines for Norwich, CT,” City of
    Norwich, Connecticut, 2018.
8. Sarajane Cedrone, Administrative History of the Harriet Beecher Stowe Center, Hartford, CT, Harriet Beecher
    Stowe Center, 2018.
9. Chelsea Farrell, National Register Nomination of Lindsey Farm, North Branford w/ Connecticut Trust for Historic
    Preservation, 2018.
10. Anthony Vinci, Exhibit on “Urban Renewal in New Britain,” New Britain Visitor’s Center, New Britain, 2018.
11. Ira Hessmer, National Register Nomination of the Burnside Ice Company, Hartford, 2017.
12. Shaun Winton, “Historic Preservation in the Model City: New Haven Preservation Trust and a Half-Century of
    Activism and Advocacy,” New Haven Preservation Trust (in process).
13. Zachary Keith, National Register Nomination of Waterbury Clock Case Shop, Waterbury, CT for Crosskey
    Architects, 2017.
14. Sally Givens, State Register Nomination of Saint Paul’s Universalist Church, Meriden, CT, 2017.
15. Garrett Coady, National Register Nomination of J.H. Sessions and Son Company, Bristol, CT, for Crosskey
    Architects 2017.
16. Brianna Dunlap, “The Tobacco Valley of Connecticut,” The History Press, 2016.
17. Kathleen Von Jena, National Register Nomination of Swedish Congregational Covenant Church w/ Town of
    Weston, Weston, CT, 2016.
18. Aileen Bastos Zylman, State Register Nomination of the Raphael Building, New Britain, CT w/ Connecticut Main
    Street Center, 2015.
19. Sabastian Holquist, Film Documentary of Roger Tory Peterson, Fish and Wildlife Service, State of Connecticut,
    2015.
20. Timothy Adams, National Register Nomination of “Simon Lake Laboratory,” w/ Milford Preservation Trust,
    Milford, CT, 2015.
21. Austin Sullivan, “Voices from Vietnam” Exhibit, w/ Veterans History Project, CCSU/ New England Air Museum,
    East Granby, 2015.
22. John Mooney, Connecticut Humanities Council Grant for Exhibit, City of Bristol, Bristol, CT, 2015.
23. Whitney Ceremicoli, HABS Report of the Hatch Building, w/ City of New Britain, New Britain, CT, 2014.
24. Owen Rogers, “Oral History of Modernist Architects in New Haven,” New Haven Preservation Trust, 2014.
25. Erin Marchitto, “Connecticut Shoreline Historic Context Study,” State Historic Preservation Office, 2014.
26. Lindsey Steward, “The Women of Stanley-Whitman,” Teaching with Historic Places curriculum, Stanley-Whitman
    House, 2014.
27. Kira Holmes, “Circus Collection,” Finding Aid and Guide, New Britain Youth Museum, 2014.
28. Jordan Sorenson, National Register Nomination of Good Hill Farm w/ Connecticut Trust for Historic
    Preservation, Woodbury, 2013.
29. Sarah A. Hill, Cultural Landscape Report, w/ Wethersfield Land Trust, Wethersfield, 2013.
30. Caitlin Sjaarda, Painting Sites Trail Guide, Weir Fram National Historic Site, National Park Service, Wilton, CT,
    2012 (Winner of 2014 NCPH Graduate Student Project Award).
31. Alison Golomb, Digital Burying Ground Project, Wethersfield, w/ Wethersfield Historical Society, Wethersfield,
    CT, 2012.
32. Rachel St. Onge, National Register Nomination of Goodwin Park, Hartford, CT w/ Hartford Preservation Alliance,
    2012.
33. Amy Gagnon, National Register Nomination of Temple Street Garage, New Haven Preservation Trust, New
    Haven, CT, 2012.
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34. Cheryl LeBeau, “Dark Tourism,” w/ Cedar Hill Cemetery, Hartford, CT, 2011.
35. Todd Jones, National Register Nomination of Keney Park, Hartford w/ Hartford Preservation Alliance, Hartford,
    CT, 2011.
36. Michelle Malinowski, National Register Nomination of “Stanley-Quarter Subdivision,” w/ City of New Britain,
    New Britain, CT, 2011.
37. Diana Sheil, National Register Nomination of Martin Luther King Elementary School, Hartford w/ Hartford
    Preservation Alliance, Hartford, CT, 2010.
38. Katherine Parlato, Glebe House Museum, Woodbury w/ Teaching with Historic Places curriculum, Woodbury, CT,
    2009.
39. Lucas Karmazinas, National Register Nomination of Underwood Typewriter Factory, Hartford w/ Hartford
    Preservation Alliance, Hartford, CT, 2008.
Supervise theses for MA in History (2 to completion)
Michael Marinaro, “Reviving the Public Memory of the USS Monitor: From Faded Legend to Historical Monument,”
    2010.
Daniel R. Morisse-Corsetti, “At the Doorstep of the Model City: New Haven, Urban Renewal, and the Oak Street
    Project,” 2009.
Class Projects:
“Rooted in History:” Connecticut Tree Stories, Grating the Nutmeg, podcast, HIST 405/505, Spring 2021.
“Pandemic in Perspective,” Online Exhibit, CCSU Burritt Library, HIST 302, Fall 2020.
Women’s Suffrage Transcription Project, Connecticut State Archives, HIST 302, Fall 2019.
Latino History Harvest, HIST 405/505, Spring 2017-2018.
Iwo Jima Biography Project, HIST 302, Fall 2014-2018.
“Historic Structure Reports,” Coltsville National Historic Park, Hartford, CT, HIST 511, Fall 2016 and Spring 2017.
New Britain Industrial Museum Visitors’ Survey, HIST 302, Fall 2016.
“Triumph Through Adversity: The Borinqueneers,” Exhibit, New Britain Visitors’ Center Gallery, New Britain, CT,
HIST 302, Fall 2015.
“Voices from Vietnam,” Veterans History Project, CCSU, HIST 302, Fall 2014.
“The History of Homelessness in New Britain,” HIST 405/505, Spring 2012.
Quinnipiac University, Hamden, CT
Adjunct Assistant Professor of History                                                     Fall 2003- Spring 2006
Introduction to Public History
The Gilded Age and Progressive Era
The West in American History to 1900
United States History (to 1877 and from 1877)
Arizona State University, Tempe, AZ
Faculty Associate                                                                             Fall 1999-Fall 2001
American Cultural History from 1865 to Present
United States History Survey (to 1877 and from 1865)
Maricopa County Community Colleges, Maricopa County, AZ
Adjunct Faculty                                                                             Fall 1998-Spring 2002
Chandler-Gilbert Community College, Chandler, AZ
   United States History Survey (to 1877 and from 1865)
South Mountain Community College, Phoenix, AZ
    Yaqui Indian History and Culture (designed, developed and co-taught)
Arizona State University, Tempe, AZ
Research Graduate Assistant, Center for Indian Education                                      Fall 1995-Fall 2001
Teaching and Research Graduate Assistant, History Department                            Fall 1994-Fall 1996; 1998
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Glaser                                                                                                             4
PUBLICATIONS
Books
w/ Philip Levy, eds. Branching Out: The Public History of Trees. Amherst, MA: University of Massachusetts Press
          (Public History in Historical Perspective series), under contract.
Interpreting Energy at Museums and Historic Sites. Lanham, MD: American Association of State and Local History
          (AASLH)/ Rowman and Littlefield (Interpreting History series), 2023.
Electrifying the Rural American West: Stories of Power, People, and Place. Lincoln, NE: University of Nebraska
          Press, 2009.
          Favorably reviewed in 13 prominent and prestigious academic journals including the American Historical
          Review, Journal of American History, Western Historical Quarterly, the Pacific Historical Review, and the
          Montana, The Magazine of Western History.
The History, Values, and Visions of Carollo Engineers. Walnut Creek, CA: Carollo Engineers, 2003.
Linenberger, Toni Rae and Leah S. Glaser, Dams, Dynamos, and Development: The Bureau of Reclamation’s Power
          Program and Electrification of the West. Washington, DC: US Government Printing Office, 2002.
Book Chapter
“When a Tree Falls…: Listening to and Managing Connecticut’s Historic Landscape,” in Branching Out: The
          Public History of Trees. University of Massachusetts Press (Public History in Historical Perspective series),
          under contract.
 “ ‘An Absolute Paragon of Paradoxes:’ Native American Power and the Electrification of Arizona’s Reservations,” in
          Sherry L. Smith and Brian Frehner, eds. Indians and Energy: Exploitation and Opportunity in the American
          Southwest. Santa Fe, NM: School of Advanced Research Press, 2010.
Edited Journal
Glaser, Leah S., Guest Editor (theme issue), “Public History and Environmental Sustainability,” The Public Historian
          36:3 (August 2014).
Articles in Academic Journals
 “Hidden Gems: Hopewell Furnace National Historic Site,” Pennsylvania Magazine of History and Biography, Special
          Issue on Energy (October 2015), 353-355.
w/ Nicholas Thomas, “Sam Colt’s Arizona: Investing in the West,” Journal of Arizona History 56:1 (Spring 2015), 29-
          52.
 “Identifying and Defining Issues of Environmental Sustainability in Public History” The Public Historian 36:3
          (August 2014), 10-16.
 “Let’s Sustain This!” The Public Historian 36:3 (August 2014), 130-144.
 “Beyond the Boom/Bust Cycle: Locating Enduring Stories in the Cultural Resources of the West,” in Field Notes,
          Western Historical Quarterly 41 (Summer 2010): 218-226.
 “Nice Towers, eh? Evaluating a Transmission Line in Arizona,” CRM: Cultural Resource Management 20:14, U.S.
          Department of the Interior, National Park Service (1997): 23-24.
 “Working for Community: The Yaqui Indians at the Salt River Project,” Journal of Arizona History 37: 4 (Winter
          1996): 337-356.
Articles in Popular Magazines, Newspapers
“Trees as Memorials and Witnesses to History,” Connecticut Explored (Spring 2021): 14-19.
“Readers Respond to Removal of Christopher Columbus Statues,” Hartford Courant (June 26, 2020).
“Historic Preservation Checks a Lot of Boxes,” Connecticut Preservation News (January/February 2019): 4-5.
“Taking Away Conservation Funds Hurts the State,” editorial, Hartford Courant (June 20, 2017).
Guest Editor (theme issue), “Connecticut in the West,” Connecticut Explored (Winter 2017).
 - “Sam Colt Mines the Arizona Territory,” Connecticut Explored (Winter 2017).
 - “Western Ideas for Eastern Lands,” Connecticut Explored (Winter 2017).
Reports (peer-reviewed)
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Glaser                                                                                                            5
w/ Elizabeth Correia. National Register of Historic Places, “Congregation Mishkan Israel,” Hamden, New Haven
         County, Connecticut, approved by Connecticut State Historic Preservation Review Board, March 2021.
National Register of Historic Places, “New Haven Armory,” New Haven, New Haven County, Connecticut, approved
         by Connecticut State Historic Preservation Review Board, December 4, 2020.
Glaser, Leah S. et.al. National Register of Historic Places, “Downtown New Britain,” New Britain, Hartford County,
         Connecticut, National Register #93000771. Reviewed/approved by Connecticut State Preservation Board,
         December 7, 2015. Submitted to National Park Service February 2016. Listed May 3, 2016.
Glaser, Leah S. (chair) with Maren Bzdek, Priya Chhaya, Rebecca Conard, David Glassberg, William Ippen, Melinda
         Jetté, and Angela Sirna (National Council on Public History Task Force on Environmental Sustainability),
         “Public History and Environmental Sustainability: A Role for the National Council on Public History,” White
         Paper, submitted to the NCPH Board in September, 2014.
Connecticut State Register of Historic Places, “1631 Chapel Street,” New Haven, New Haven County, Connecticut,
         Reviewed/approved by Connecticut Historic Preservation Council, 2006.
Connecticut State Register of Historic Places, “Short Beach Union Chapel,” New Haven, New Haven County,
         Connecticut, Reviewed/approved by Connecticut Historic Preservation Council, 2006.
National Register of Historic Places, “Ball’s Oyster Dock,” Branford, New Haven County, Connecticut,
         Reviewed/approved by Connecticut State Preservation Board, 2006.
National Register of Historic Places, “Perry Avenue Bridge,” Norwalk, Fairfield County, Connecticut,
         Reviewed/approved by Connecticut State Preservation Board, 2006.
National Register of Historic Places, “Westville Village Historic District (Boundary Increase),” Reviewed/approved
         by Connecticut State Preservation Board, 2005.
National Register of Historic Places, “Knickerbocker Golf Club,” New Haven, New Haven County, Connecticut,
         Reviewed/approved by Connecticut State Preservation Board, 2005.
 “An Industrial Place in a Rural Space: The Administrative History of Hopewell Furnace National Historic Site,”
         Philadelphia. PA: Northeast Regional Office/ National Park Service/ Bloomington, IN: Organization of
         American Historians, August 2005.
“The Navajo Indian Irrigation Project,” Bureau of Reclamation History Program, Denver, CO, 1998.
“The San Juan-Chama Project,” Bureau of Reclamation History Program, Denver, CO, 1998.
 “The EMA Transmission Line,” No. AZ-6- B. Historic American Engineering Record (HAER), National Park
         Service, Western Region, 1996.
Encyclopedia Entries
“Dynamic Tensions: Conservation and Development in Connecticut to 1920s,” ConnecticutHistory.org. Connecticut
       Humanities Council, September 2012.
“A Public Responsibility: Conservation and Development in Connecticut in the Twentieth Century,”
       ConnecticutHistory.org. Connecticut Humanities Council, September 2012.
“Hopewell Furnace National Historic Site,” United States Geography Database. ABC-CLIO, Santa Barbara, CA.
       (posted August 2011).

Blog and Newsletter Publications
“Guidelines for Historic Tree Preservation,” History@Work in “Public Historians in our Climate Emergency” series.
        www.ncph.org (October 5, 2021).
“From the Desk of Leah Glaser: Hey Texas! Read my Electricity Book,” UNP Guest Blog, University of Nebraska
        Press, March 1, 2021.
Michelle McClellan, Carolyn Barske Crawford, and Leah Glaser, “Repairing National Register Nominations:
        Educational Institutions and The National Register Process,” History@Work, The NCPH Blog,
        www.ncph.org, July 28, 2020.
“Public History and Sustainability: An Overview and Invitation,” History@Work, www.ncph.org, (June 7, 2013).
“A Point Paper from the Public Historians and Sustainability Working Group,” History@Work, www.ncph.org, (July
        20, 2012).
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Glaser                                                                                                             6
w/ Will Ippen. “Public History and Sustainability,” Public History News 32:4 (September 2012), 11.
“Public Historians Take on Climate Change,” History@Work (April 29, 2012).
w/ Jannelle Warren-Findley, “Negotiating Histories: Perspectives on Public History,”
        Perspectives: A Newsletter of the American Historical Association (May 1999).
Reviews
Book Review of Debra Reid and David Vail, Interpreting the Environment at Museums and Historic Sites. Lanham,
         MD: AASLH/Rowan and Littlefield, 2019 in The Public Historian 43:2, (May 2021), 167-169.
Book Review of Casey P. Cater, Regenerating Dixie: Electric Energy and the Modern South. (History of the Urban
         Environment.) Pittsburgh, Pa.: University of Pittsburgh Press, 2019 in American Historical Review 126:1
         (March 2021), 352-353.
Book Review of Marisa Elena Duarte, Network Sovereignty: Building the Internet Across Indian Country. Seattle,
         WA: University of Washington Press, 2017 in Pacific Historical Review (2018), 43-44.
Exhibit Review of “Rising Tides: Fairfield’s Coast: Past to Future,” Fairfield Museum and History Center, Fairfield,
         CT in The Public Historian 39:2 (May 2017), 91.
Book Review of James Robert Allison, III, Sovereignty for Survival: American Energy Development and Indian Self-
         Determination. New Haven, CT: Yale University Press, 2015 in Journal of American History 103: 3
         (December 2016), 841-842..
Book Review of David B. Danbom, ed. Bridging the Distance: Common Issues of the Rural West. Forward by David
         M. Kennedy. Salt Lake City, UT: University of Utah Press, 2015 in Western Historical Quarterly 21 (July
         2016), 488-489.
Book Review of Don E. Albrecht, Rethinking Rural: Global Community and Economic Development in the Small
         Town West, Pullman: University of Washington Press, 2014 in Environment, Space, Place (Fall 2015).
Book Review of Greg Gordon, When Money Grew on Trees: A.B. Hammond and the Age of the Timber Baron.
         Norman: University of Oklahoma Press, 2014 in Journal of American History 101:4 (2015), 1287-1288.
Book Review of Diane Barthel-Bouchier, Cultural Heritage and the Challenge of Sustainability. Walnut Creek, CA:
         New Left Press, 2013 in H-Environment, H-Net Reviews (June 2014).
Book Review of Paul Hirt, The Wired Northwest: The History of Electric Power, 1870s–1970s. Lawrence, KS:
         University Press of Kansas, 2012 in Western Historical Quarterly 44 (Autumn 2013), 355-356.
Book Review of Mary S. Melcher, Pregnancy, Motherhood, and Choice in Twentieth Century Arizona. Tucson, AZ:
         University of Arizona Press, 2012 in Journal of Arizona History 54:3 (Autumn 2013), 349-530.
Book Review of Ronald M. James, Virginia City: Secrets of a Western Past. Historical Archaeology of the American
         West Series. Lincoln: University of Nebraska Press and the Society for Historical Archeology, 2012 in
         Western Historical Quarterly 43:4 (Winter 2012), 526-527.
Exhibit Review of “Making Connecticut,” Connecticut Historical Society Museum in Connecticut History 51:1
         (Spring 2012), 103-107.
Book Review of Brian Q. Cannon, Reopening the Frontier: Homesteading in the Modern West. Lawrence: University
         Press of Kansas, 2009 in American Historical Review 116: 2 (April 2011), 484.
Book Review of Marsha Weisiger, Dreaming of Sheep in Navajo Country. Seattle: University of Washington Press,
         2010 in Agricultural History 85:2 (Spring 2011), 261-2.
Book Review of David Grayson Allen, The Olmsted National Historic Site and the Growth of Historic Landscape
         Preservation. Boston: Northeastern University Press, 2007 in Connecticut History 47:1 (Spring 2008),
         174-176.
Exhibit Review of “Remembering Our History: The Chinese American Presence in Phoenix,” Phoenix Museum of
         History in The Public Historian 24:3 (Summer 2002), 86-88.


CONFERENCE Participation
Chair, “ ǣ  ǡǳ                   ͳͶǡʹͲʹʹ
        “Current Perspectives on the History of Guns and Society,”
        Center for the Study of Guns and Society, Wesleyan University, Middletown, CT
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Glaser                                                                                                            7

Organizer and Participant, “Environmental Stewardship and Storytelling through the Humanities,” May 19, 2021
        Campuses for Environmental Stewardship 2021 Summit, Maine Campus Compact (virtual).
        http://mainecompact.org/ces-summit-2021/
Participant, National Council on Public History, “The Presence and Persistence of Stories,”             March 2021
         Salt Lake City, UT (virtual)
Participant, Working Group: “Public Historians in our Climate Emergency”                                March 2020
         National Council on Public History, “Threads of Change,” Atlanta, GA (virtual)
Co-Chair, Local Arrangements Committee,                                                     April 2018- March 2019
Member, Program Committee,
       National Council on Public History, “Repair Work,” Hartford, CT
Planner/ Coordinator, Public Plenary, “Considering Coltsville: A Revolving Story,” Center Church, Hartford
        National Council on Public History, “Repair Work,” Hartford, CT                                    March 2019
        A conversation with community leaders and local gun safety advocates about the future of
        Coltsville in Hartford, a city facing serious concerns about gun violence. What role will the park play in
        communities most affected?
Participant, Structured Conversation: “Trees, Preservations, and Public Historians:
         Challenges and Opportunities”
         National Council on Public History, “Repair Work,” Hartford, CT                                 March 2019
Participant, Working Group: “Repairing National Register Nominations,”
         National Council on Public History, “Repair Work,” Hartford, CT                                 March 2019
Co-Chair, “History on the Fly: Gun Violence, Gun Safety, and Gun Rights,”                                 April 2018
       National Council on Public History, “Power Lines,” Las Vegas, NV
Co-Chair, Local Arrangements Committee, Planning and Presentation (Awards Breakfast Presentation)         April 2018
       for Annual NCPH Conference 2019, “See You in Hartford”
       National Council on Public History, “Power Lines,” Las Vegas, NV
Participant, Structured Conversation: “Resources and Best Practices for Public History Education          April 2018
         and Training and Environmental Sustainability”
         National Council on Public History, “Power Lines,” Las Vegas, NV
Participant, Working Group: “Public History Education and Sustainability,”                                April 2017
         National Council on Public History, “In the Middle,” Indianapolis, IN
Paper, “Urban Tree Preservation in this Era of Climate Change,”                                          March 2016
        National Council on Public History, “Challenging the Exclusive Past,” Baltimore, MD
Invited Panelist, “Old Roots, New Routes,” Connecticut Trust for Historic Preservation,                 October 2015
         Hartford, CT
Panelist, “Sustaining Historic Preservation as a Cultural Practice: A Structured Conversation”            April 2015
         National Council on Public History, “On the Edge,” Nashville, TN
Co-facilitator, “Memorials and Violence and the American West” Discussion,                                May 2014
         Western Historians in the Northeast Region, Yale University, New Haven, CT
Invited Panelist, “Sustaining Public History in a Changing Climate- A State of the Field Roundtable,”     April 2014
         New England Historical Association, Springfield College, Springfield, MA
Co-Chair, Program Committee
         National Council on Public History, “Sustainable Public History,” Monterey, CA                  March 2014
Co-Moderator, Public Plenary, A Conversation with Keynote Speaker Richard Heinberg, “The End of Growth,”
       National Council on Public History, “Sustainable Public History,” Monterey, CA              March 2014
Chair, “Public History and Environmental Sustainability Task Force White Paper: Feedback,”
        National Council on Public History, “Sustainable Public History,” Monterey, CA                   March 2014
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Glaser                                                                                                       8
Discussant, “Beyond Saving: Achieving Sustainability in Historic Preservation” Working Group
        National Council on Public History, “Sustainable Public History,” Monterey, CA              March 2014
Paper, “Choo, Choo (Cough, Cough): Interpreting and Preserving Western Scenic Railroads            October 2013
        in the Era of Sustainability,” Western History Association, “Vital Signs,” Tucson, AZ
Co-Chair, Program Committee, Planning for Annual NCPH Conference 2014.                               April 2013
        National Council on Public History, Ottawa, ON, Canada
Paper, “Western Ideas for Eastern Lands: The Influence of Western Environmental Policies           October 2012
        on Connecticut’s State Parks and Forests, 1913-1943,”
        Western History Association, “Boundary Markers and Border Crossings,” Denver, CO
Paper, “‘Now, That’s the Smell of History!’ Addressing Environmental Sustainability               September 2012
         in Historic Preservation,” Preservation Education: Best Practices, Providence, RI
Organizer, Co-facilitator, Working Group: “Public History and Sustainability,”                        April 2012
         National Council on Public History/ Organization of American Historians, Milwaukee, WI
Organizer, Chair, Panelist, “Public History and Sustainability” Roundtable,                           April 2011
         American Society for Environmental History, Phoenix, AZ
Chair, “Many Languages, Cultures, and Wests: Contestation of American Education                    October 2010
         in the Southwest and the United States.” Western History Association, “Many Wests,” Lake Tahoe, NV
Organizer and Chair, “Green Planning: Green Jobs for Liberal Arts Majors,”                            April 2010
         Global Environmental Sustainability Symposium, “A Green Economy for a Sustainable Future,”
         Central Connecticut State University, New Britain, CT
Organizer, Chair, Panelist, “History in the Balance: Reconciling the Management                     March 2010
         of Natural and Cultural Resources in the National Parks” Roundtable,
         National Council on Public History/ American Society for Environmental History, Portland, OR
Organizer, Co-facilitator, Working Group: “Recycling Buildings? Reframing Historic Preservation     March 2010
         in the Language of Sustainability and the Green Economy,”
         National Council on Public History/ American Society for Environmental History, Portland, OR
Panelist, “The Electric West” Roundtable                                                           October 2009
         Western History Association, “The Wired West,” Denver, CO
Co-Organizer, “Memory and the American West” Discussion,                                              May 2009
         Western Historians in the New England Region, Amherst, MA
Discussant, “So You’re Teaching in a Public History Program,” Working Group                           April 2009
         National Council for Public History, Providence, RI
Organizer, “Recycling Buildings: Historic Preservation and Embodied Energy”                           April 2009
         Global Environmental Sustainability Symposium: Renewable Energy and Carbon Neutrality,
         Central Connecticut State University, New Britain, CT
Chair, “Learning the Hard Way: A Century of National Park Planning,”                               January 2009
         American Historical Association, New York, NY
Organizer and Chair, Roundtable: “Historic Preservation IS Smart Growth,”                        November 2008
         Statewide Smart Growth Conference, New Haven, CT
Paper, “Power to the Indians: The Production and Use of Electricity                   September 2007/ April 2008
         on Arizona’s Reservations,” Indians and Energy: Exploitation and Opportunity
         in the American Southwest Symposium and Conference at the School of American Research, Santa Fe,
         New Mexico (September 2007) and at Clements Center for Southwestern Studies, Southern Methodist
         University, Dallas, TX (April 2008), respectively.
Panelist, “Environmental History and Changes at Hopewell,”                                          August 2003
         Hopewell Furnace National Historic Site Natural Resources Roundtable, Birdsboro, PA
         Sponsored by the National Park Service
Panelist, “The Founding Legislation and Intent of Hopewell Furnace National Historic Site,”           June 2003
         Hopewell Furnace National Historic Site Natural Resources Roundtable, Birdsboro, PA
         Sponsored by the National Park Service
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Paper, “Power Through Diversity: Rural Electrification to Arizona’s White Mountains,”                     April 2001
        Arizona History Convention, Pinetop/Lakeside, AZ
Paper, “Native American Power: The Navajo Tribal Utility Authority,”                                   October 1999
        Western History Association, Portland, OR
Paper, “Surviving Across the Border: Yaqui Immigration to the United States, 1880-1940,”                  June 1998
        National Association for Chicano and Chicana Studies, Mexico City, Mexico
Paper, “Guadalupe’s Current Problems and Past Issues,”                                                    May 1997
        National Council for Public History, Albany, NY
Paper, “Working for Community: The Yaqui Indians at the Salt River Project,”                              April 1996
        Arizona History Convention, Sierra Vista, AZ

HONORS and AWARDS
Excellence in Teaching Honor Roll, Central Connecticut State University,
2008-9, 2016-17, 2017-18, 2018-19, 2019-20, 2020-21, 2021-22.
State of Connecticut Board of Regents for Higher Education,
Connecticut State University System-Wide Norton Mezvinsky Research Award, 2012.
State of Connecticut Board of Regents for Higher Education,
Central Connecticut State University-Level Norton Mezvinsky Research Award, 2012.
Best Graduate Student Paper, “Working for Community: The Yaqui Indians at the Salt River Project,” !
         Arizona Historical Convention, 1996.
GRANTS
Consultant, Institute of Museums and Library Services w/ Connecticut Historical Society, Hartford, CT, “Community
         Historian Project,” 2021. < $200K
Participant/ Consultant, National Park Service Battlefield Preservation Interpretation Grant, “Forgotten Voices of the
         Revolutionary War,” w/ CRIS Radio, Windsor, CT. October 2021-May 2023.
Sabbatical Leave, “Love and War: Climate and Trees,” Spring 2020.
Campuses for Environmental Stewardship Grant, (awarded with Dr. Charles Button, et. al.). 2019. $7000
National Endowment for the Humanities/ American Library Association Grant, Host on-campus screenings of PBS’
         Latino Americans (awarded with Heather Rodriguez (Sociology) for Latino Studies). Recruited and booked
         up guest speakers. Involved students through class projects (see load credit), 2015-16. $10,000
Sabbatical Leave, “Public History and Sustainability,” Spring 2013.
Faculty Development Grant, “The National Council on Public History 2014 Conference: Making CCSU a Leader in
         Public History Education, 2013-14 (awarded with Professor Heather Prescott). $1350
Faculty Development Grant, “Public History and Sustainability,” 2010-2011. $900
CCSU Community Engagement Grant, “Local History and Community Development: Homelessness and Affordable
         Housing in New Britain,” 2011-2012. $1000
CCSU Community Engagement Grant, “Sustainability Education Programs for the CCSU Community and Beyond,”
         2010-2011. $1000
Dean’s Research Initiative Grant, College of Arts and Sciences, Central Connecticut State University, 2008. $900.
Associated Students of Arizona State University (ASASU) Graduate Research Grant, 2000.
Charles Redd Center for Western Studies Upper Division and Graduate Student Summer Research Award, 2000.
Max Millett Family Fund Summer Research Award, 2000.
OTHER PROFESSIONAL WORK EXPERIENCE
Connecticut Department of Energy and Environmental Protection                            October 2021-present
Historical Consultant
Drafted text for an interpretative panel with Dr. Stephen Amerman and Ms. Rachel Sayet, MA (Mohegan) on Native
use and connections for Sleeping Giant State Park, in Hamden.
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Arcadis, Inc.                                                                                August 2019-March 2021
Historical Consultant
National Register nomination for Goffe Street Armory and text for an interpretative panel for 71 Shelton Street, both
in the City of New Haven.
Department of Public Works, New Britain, CT                                                      January 2014-present
Writer, Contributor, and Content Development for Downtown Way-finding and Historic Signage project
New Britain Historic District Commission, New Britain, CT                               January 2014-December 2015
Historical Consultant
Worked with Commission and State Historic Preservation Office to revise a draft, develop, further research,
document, write, and submit the New Britain Downtown Historic District for listing on the National Register of
Historic Places.
Morgan, Angel, and Associates, Washington, DC                                                 2004-2012 (intermittent)
Historical Consultant
Wild and Scenic River, Lower Farmington River and                                                            Fall 2009
Salmon Brook Study Committee, National Park Service, Simsbury, CT
Lead Consultant of Cultural Landscape Study. Senior researcher for reviewing and documenting the cultural landscape
of the lower Farmington River and Salmon Brook for proposal to Congress to designate the river as a National Wild
and Scenic River. Worked with Public History MA students (one former and one current as my co-consultants).
New Haven Preservation Trust, New Haven, CT                                             October 2004-September 2007
Historical Consultant, Secretary/ Recorder for New Haven Historic District Commission, and Volunteer
Greater New Haven Holocaust Memory, Inc. New Haven, CT                                       October 2005- May 2007
Curriculum Committee
Consulted on the development of grade school curriculum to examine the role and function of memorials and memory.
Virginia Center for Digital History, University of Virginia, Charlottesville, VA                    April-August 2004
Contract Historian
Identified online primary documents for and wrote bibliographic summaries on several topics in American History
corresponding to Virginia Standards of Learning. Teachers in Virginia use these essays to help guide development of
eleventh grade curriculum.
National Park Service/ Organization of American Historians, Philadelphia, PA                      July 2002-June 2004
Contract Historian
Researched and wrote administrative history of Hopewell Furnace National Historic Site in Pennsylvania to inform
park’s general management plan regarding the management and preservation of the park’s resources.
Carollo Engineers, Walnut Creek, CA                                                       March 2002-December 2003
Contract Historian
Researched, documented, and wrote published corporate history of a sanitary engineering company. Also authored
script for company training video.
City of Tucson, Tucson, AZ
Litigation Consultant                                                                       December 1999-July 2000
Provided historical research support for law firm representing Tucson in unresolved court case regarding telephone
utilities and property issues. Provided information for opposing council in formal deposition.
National Park Service, Anchorage, AK
Cultural Landscape Historian, GS-170-7/9                                                       June 1-August 11, 1999
Compiled data, explored sites, assessed historical and cultural significance, and developed inventories, maps, and
histories for cultural landscapes (CLIs) in accordance with federal preservation regulations for Alaska parks.
United States Bureau of Reclamation, Lands, Recreation, and Cultural Resources Office, Lakewood, CO
Historian, GS-170-5/7                                                                     May 28-September 30, 1998
Co-authored 100+ page draft describing the development of Reclamation’s hydroelectric power program
(see publications). Conducted primary research and drafted historical studies of historic Reclamation projects.
Salt River Project Archives, Phoenix, AZ
Research Historian                                                                         June 1995-November 1996
Conducted historical research and analysis for water and power corporation.
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EPS (Electronic Publishing Services), Boston, MA                                      December 1993-June 1994
Graphic Designer
City Marketing, Inc., Boston, MA                                                  February 1993-November 1994
Graphic Designer

The Improper Bostonian, Brookline, MA                                                     March 1993-June 1994
Advertisement Designer
CONFERENCES/WORKSHOPS/ PROFESSIONAL DEVELOPMENT,
TRAINING and SKILLS
“Connecticut’s Sites of Conscience,” CT Humanities/State Historic Preservation Office           August 8, 2022
Mashantucket Pequot Museum, Mashantucket/Ledyard, CT
“The Presence and Persistence of Stories,” National Council on Public History,                      March 2021
Salt Lake City, UT (virtual)
Certified Interpretative Guide Training, National Association for Interpretation,             January 6-9, 2021
Fort Collin, CO (virtual).
Past Forward Online, a conference of the National Trust for Historic Preservation (virtual) October 27-30, 2020
“Migrations, Meeting Grounds, and Memory,” Western History Association (virtual)            October 12-17, 2020
“Dismantle Preservation Unconference.” (virtual)                                                  July 28, 2020
“Coltsville in Context: Presentation and Public Discussion Scholars”                            March 26, 2019
Roundtable for Coltsville National Historic Park, Church of the Good Shepherd, Hartford, CT
“Preservation in a Changing Environment,” Connecticut State Historic                               May 18, 2017
Preservation Office, Storrs, CT
“Olmsted Parks in Transition,” Connecticut Chapter of the American Society                         April 28, 2017
of Landscape Architects, Hartford, CT
The Future of the Past in Connecticut: The National Historic Preservation Act at 50,”           October 29, 2016
New Haven Preservation Trust/ CT Trust for Historic Preservation/ State Historic Preservation Office,
New Haven, CT
“Preserving Diverse Communities: Making Historic Tax Credits Work,”                              October 7, 2016
Connecticut Preservation Action Symposium, Mashantucket, CT
“Keeping History Above Water: A Conference on Sea-level Rise and Historic Preservation,”
Newport Restoration Foundation, et. al., Newport, RI                                              April 11, 2016
“Connecticut Preservation Now! Challenges and Opportunities in Funding”                          November 2015
Connecticut Preservation Action Symposium, Bridgeport, CT
Connecticut Main Street Center, 2015 Awards Gala, New Britain, CT                                    June 8, 2015
“Precision Valley Symposium,” Springfield Armory National Historic Site                                May 2015
and Springfield Technical Community College, Springfield, MA
“Where There’s a Mill, There’s a Way! Effective Strategies for Restoring,                              May 2015
Repurposing, and Redeveloping Connecticut’s Historic Mills and Factories.”
Torrington Historic Preservation Trust, Warner Theater, Torrington, CT
Advocacy Day for History, Preservation, and the Humanities.                                            April 2015
Connecticut League of History Organizations
“New Money for Old Places: Revenue Sources for Gap Funding: A Seminar for Developers,               January 2012
Contractors, Architects, and Historic Preservationists,” Connecticut Preservation Action Symposium,
Bloomfield, CT
“New Money for Old Places: Historic Preservation Incentives for the Economy,”                    September 2010
Connecticut Preservation Action Symposium, Hartford, CT
Short Course on Historic Preservation: Sustainability,
“Green Building: Tools and Strategies for Sustainable Reuse”                                           June 2008
Cornell University Historic Preservation Planning Program, Cornell AAP Center, New York, NY
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Glaser                                                                                                                  12
New Faculty Meetings with Provost: College Teaching                                                              Fall 2006
Central Connecticut State University, New Britain, CT
Summer Technology Institute
Chandler Gilbert Community College, Chandler, AZ                                                    June 2000, May 2001
Training in technology for teaching and curriculum development.
Teaching Tools Workshop                                                                                          Fall 1999
Arizona State University, Tempe, AZ
Automating Processing Practices and Finding Aids                                                           February 1996
Society of American Archivists
Identification and Management of Traditional Cultural Places                                                  Spring 1997
National Preservation Institute
Oral History Workshop                                                                                            Fall 1996
Southwest Oral History Association
PROFESSIONAL ACTIVITY
Professional Affiliations, past and present
National Council on Public History; Western History Association, Western Historians in the Northeast Region;
American Society of Environmental History, American Association of State and Local History
Service to Professional Organizations
Panelist/Reviewer, “Public Humanities Projects; Exhibitions and Historic Sites” grants                  October 28, 2021
National Endowment for the Humanities.
Presenter, “Talking About Preservation: Future Preservationists,” Preservation Connecticut            September 23, 2020
Invited to speak for lunchtime series on historic preservation in Connecticut.
Panelist Reviewer, “Public Humanities Projects: Humanities Discussions grants,”                       November 15, 2019
National Endowment for the Humanities
“A More Perfect Union: NEW Special Initiative Advancing Civic Education and Celebrating the Nation’s 250th Anniversary.”
Chair, Local Arrangements Committee, “Repair Work”                                         March 2017-March 2019
National Council on Public History, Hartford, CT
Directing 15-person committee on arranging field trips, off-site sessions, and working with program committee on
2019 National Council of Public History Conference in Hartford.
Member, Sustainability Standing Committee, National Council on Public History                         2017-present
Established as a result of recommendation from a white paper, we will advise the NCPH Board on matters of
environmental sustainability around conferences and the development of the profession.
Chair, Sustainability Standing Committee, National Council on Public History                            2015-2017
Established as a result of recommendation from a white paper, we will advise the NCPH Board on matters of
environmental sustainability around conferences and the development of the profession.
Chair, Sustainability Task Force, National Council on Public History                                    2013-2015
Proposed and led the production of a white paper to NCPH Board with suggestions to the organization for addressing
the obligations of the organization toward environmental issues.
Co-Chair, Program Committee, “Sustainable Public History,”                                             March 2014
National Council on Public History Annual Conference, Monterey, CA
Conceived, organized, and set the program for the conference, which at the time became had the highest number of
participants of any previous NCPH conference.
Local Arrangements Committee,                                                                           April 2009
National Council for Public History Annual Conference, Providence, RI

Peer Review
Peer reviewer, Journal of Transport History                                                    November 2020
“Environmental Control: Charting a Course for the Navajo Nation through Road Planning, 1945-1978.”
Editorial Board, Journal of Arizona History                                                        2014- 2019
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Glaser                                                                                                           13
Peer reviewer, Technology and Culture Journal                                          April 2016 & February 2018
(Society of the History of Technology, Johns Hopkins University Press)
““Not Quite So Freely as Air”: The Political Economy of Rural Electrification in the United States and Canada.”
Peer reviewer, University of Massachusetts Press                                                       August 2015
Max Page and Marla Miller, Bending the Future: 50 Ideas for the Next 50 Years of Historic Preservation
Peer reviewer, International Social Science Review,                                                   Summer 2012
“Stimulating Profits, Providing Jobs, and Relieving Drudgery:
Businessmen, Politicians, and Progressives Tackling Rural Electrification.”
Peer reviewer, Sustainability (online peer-reviewed journal),                                         Summer 2011
Ryan Shelby, Yael Perez, Alice Agogino, “Partnering with the Pinoleville Pomo Nation: Co-Design Methodology:
Case Study for Creating Sustainable, Culturally Inspired Renewable Energy Systems and Infrastructure,” Article
submitted to special issue: Changing the Energy System to Renewable Energy Self-Sufficiency (RESS) - Selected
Papers from the RESS Conference, 15-16 September 2011, Freiburg, Germany
Peer reviewer, The Public Historian, “Roundtable on Ken Burns’ National Park Series:                      Fall 2010
‘America’s Best Idea.’”
Peer reviewer, Western Historical Quarterly,                                                            Spring 2009
“Tranquil and Troubled Waters: The Responses of Drowned Towns to Cold War Consensus” (Manuscript)

Invited Presentations
Panelist, “Your First Book: Producing It, Publicizing It, Teaching It,”                                 October 2012
sponsored by the Library of Congress and the Committee on Teaching and Publication,
Western History Association Conference, “Boundary Markers and Border Crossings,” Denver, CO
Panelist, “Scholarship Direct to the Classroom Luncheon:                                   October 14, 2010
Authors share their work with K-12 teachers of Western History.” Sponsored by the
Committee on Teaching and Publication, Western History Association Conference, Lake Tahoe, NV
Participant, Roundtable Luncheon                                                                     January 5, 2009
Invitation-only roundtable discussion about water issues with seven other “water” historians by Charles Vörösmarty
Professor, Civil Engineering and Director, CUNY Environmental Cross-Roads Initiative regarding a National Science
Foundation grant for a project entitled, “Hydrology and the 500-Year Challenge: Pilot Synthesis Studies on an
Evolving Human-Water System in Northeast United States.”
“Examples of Historical Thinking,” National History Education Clearinghouse.                            January 5, 2009
George Mason University Center for History and New Media and
Stanford University School of Education, Fairfax, VA
Recorded 20-minute segment for a central interactive website where K-12 American History teachers can find,
resources, research, advice and support to enhance their teaching, including history content, lesson plans,
and video for classroom teaching in action.
https://teachinghistory.org/best-practices/examples-of-historical-thinking/23420
SERVICE to the Community
Council Member, Connecticut Historic Preservation Council, Hartford, CT                            June 2016- present
       State appointment by the Governor.
Invited Speaker, “The Goffe Street Armory: Putting History in Historic Preservation,”        February 21, 2021
         John Herzan Lecture Series, New Haven Preservation Trust
Invited Speaker, “Talking About Preservation: Future Preservationists,”                      September 18, 2020
         Preservation Connecticut
Invited Speaker, “Colleague Circle: Digital Internships,” CT League of History Organizations      June 19, 2020
Member, Spring Forward (A Task Force for Housing Equity) in Hamden, CT                September 3, 2020- present
Member, Desegregate Connecticut                                                              July 2020-present
Guest, “Through Local History: A Stronger Sense of Place,”                                   February 13, 2018
Where We Live w/ Lucy Nalpathanchil, WNPR, Hartford, CT
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“Iwo Jima Biography Project at CCSU,”                                              November 7, 2015; May 27, 2017
Interview on WTIC News- Talk 1080 with Steve Parker, CBS Connecticut.
“Tour of Walnut Hill Park,” New Britain, CT for “Olmsted Parks in Transition,”                         April 29, 2017
Connecticut Chapter of the American Society of Landscape Architects
Panelist, “Salon at Stowe,” Harriet Beecher Stowe Center, Hartford, CT                                     April 2017
Invited Speaker, “Sam Colt Mines the West,” Grating the Nutmeg/ Connecticut Explored               February 28, 2017
Board Member, Whitneyville Cultural Commons, Hamden, CT                                         January 2016-present
         Helped oversee the creation of this non-profit, non-denominational community center located in a historic
         church and parish that serves to develop, preserve, and maintain the aesthetic, spiritual, and social center
        of the neighborhood, while envisioning a future where every community has valuable resources
        preserved for perpetual public use, with just and equitable access to enhance the quality of life for all.
President, Connecticut Preservation Action, Hamden, CT                                           June 2015- July 2018
        “Taking Away Conservation Funds Hurts the State,” Hartford Courant                              July 20, 2017
        “Testimony Regarding SB90: An Act Regarding Responsible Development,”                       February 19, 2016
        Committee of Planning and Redevelopment, Connecticut Legislature, Hartford, CT
        Host, “Preserving Diverse Communities: Making Historic Tax Credits Work,”                    October 7, 2016ġ
        Connecticut Preservation Action Symposium, Mashantucket, CT
        “Connecticut Preservation Now! Challenges and Opportunities in Funding”                      November 2015ġ
        Connecticut Preservation Action Symposium, Bridgeport, CT
Board Member, Connecticut Preservation Action, Hartford, CT            February 2010- June 2015, July 2018-present
        Work with Connecticut state legislature to preserve funding for historic
        preservation in Connecticut. Set monthly meeting agendas, testify to legislature. Plan symposia.
        “Testimony Regarding Elimination of the Community Investment Act,”                             March 9, 2015!
        Finance, Revenue and Bonding Committee, Connecticut Legislature, Hartford, CT
Board of Directors, Jewish Historical Society of New Haven, New Haven, CT                                2016-present
        Archives Committee
Board of Trustees, Jewish Historical Society of New Haven, New Haven, CT                                    2014-2016
Invited Panelist, “Surviving Academic Motherhood,”                                                    April 15, 2016
         Southern Connecticut State University, New Haven, CT
“Testimony Regarding HB 5150: An Act Concerning Tree Wardens’                                      February 19, 2016
        Notices on Trees and Shrubs Prior to Removal, Tree Removal along State Highways
        and Clean-up by Public Utility Corporations following Certain Tree Removal,”
        Environment Committee, Connecticut Legislature, Hartford, CT
Invited Participant, “Imagining the Future of Parks,” Next Parks, Coltsville Workshops,                December 7, 2015
         National Park Service and Van Allen Institute, Hartford, CT                                 November 16, 2015
         The two workshops brought together key stakeholders- NPS staff, historians, local residents, designers,
         government officials, social programs- to brainstorm and develop ideas for innovative visitor experiences,
         partnerships, and stories to guide future planning and programming of the new Coltsville National Historic
         Park. Invited to give part of tour on “Coltsville National Historic Park and Sustainability.”

Grant Advisory Committee, “Come Home to Downtown,”                                      February 2014-Summer 2015
        Connecticut Main Street Program, New Britain, CT
Advisor/ Consultant, Way-Finding and Historic Signage Project                                   January 2014-present
         Department of Public Works, City of New Britain, CT
Invited Speaker, “The Downtown New Britain National Register Historic District: A Proposal”             October 2014
         Trinity-on-Main, New Britain Historic Preservation Commission, New Britain, CT
Invited Keynote Speaker, “The History and Architecture of the Knickerbocker Golf Clubhouse,” September 2014
         Knickerbocker Golf Club 70th Anniversary Gala, Knickerbocker Golf Club, New Haven, CT
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Glaser                                                                                                         15
Workshop Leader, “Western Expansion,” American Voices, Teaching American History,                    January 2011
       Central Connecticut State University, New Britain, CT
Panelist, “Making Use of Old Buildings,”                                                      September 16, 2010
         Where We Live with John Dankowsky, WNPR, Hartford, CT
Lecture, “The Role of Art in Western History,”                                                  November 2, 2009
         New Britain Museum of American Art, New Britain, CT
Lecture and Workshop,
         “Energy and the Development of Natural Resources in the West”                         July 24, 2009
         “Technology and the West”                                                            April 30, 2009
         Teaching American History Grant, Capitol Region Education Council (CERC), Hartford, CT
“Researching Your Historic House,” Fair Haven Homeowner’s Association,                               April 5, 2008
        Fair Haven Public Library, New Haven, CT
“Water Rights in the City of Tempe: Past and Present.”                                         April 2002
       Moving Waters: The Colorado River and the West, Lecture Series, Tempe Public Library, Tempe, AZ
SERVICE to Central Connecticut State University
CCSU Foundation Grant Advisory Committee                                                     Fall 2022-Spring 2024
Asian-American/ Pacific Islander Studies Advisory Board                                            Fall 2021-present
Graduate Studies Committee                                                               Fall 2012, Fall 2016-2021
CCSU Global Environmental Sustainability Action Committee (GESAC) Board                                 2008-present
       Co-Organizer, Annual GESAC Sustainability Symposium                                            April 14, 2016
       “Building Sustainability: Historic Preservation, Reuse, and Green Building.”
Latino and Puerto Rican Studies (LPR) Advisory Board                                                    2009-present
         Co-recipient of $10,000 grant from the National Endowment for the Humanities and the American Library
         Association for 2015-16. Co-organized six film screenings including reception and discussion; Recruited and
         organized lecture by National Humanities Award Winner Dr. Vicki L. Ruiz and OAH Distinguished Scholar
         Dr. Lorrin Thomas.
Search Committee for Diversity Associate, Office Equity and Inclusion                       Fall 2019, Spring 2019
President’s Task Force on Events (appointed by Dr. Zulma Toro, President)                  May 2018-January 2019
Committee for the Concerns of Women                                                              2007- Spring 2021
         Co-chair, Work-Life Balance Sub-Committee
Community is Central Planning Committee, Chair                                                 May 2017-Fall 2018
         Fall 2018 Lecture Series with Dr. Nicholas Long and Dr. Timothy Eatman
Promotion and Tenure Committee                                                                            2014-2016
Retention and Graduation Council                                                                          2008-2014
          Chair, Attendance Sub-Committee                                                                  Fall 2012
Child Care Task Force, Faculty Senate, Co-chair                                                           2009-2013
University-Museum-Community Collaborative Steering Committee                                              2007-2012
Invited Panelist, Sabbatical Leave Workshop, Academic Affairs                                           May 4, 2012
Tourism-Hospitality Studies Advisory Committee                                                          2006-2010

SERVICE to History Department, Central Connecticut State University
Department Evaluation Committee (DEC)                             2012- 2015, 2015-2016 (served as Chair), 2020-22
Graduate Committee                                                     Spring 2009- Fall 2012, Spring 2014-present
        Admissions, planning (including orientation events, grants, marketing, recruitment)
Chair, Public History Advisory Committee                                                              2006-present
Academic Advising (undergraduate and graduate)                                                        2006-present
Search Committee for Assistant Professor in Latinx/o/a History                                         Spring 2019
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Glaser                                                                                                    16
Chair, Search Committee for Assistant Professor in Public History                      Fall 2014-Spring 2015
        and African-American History
        Included attendance at American Historical Association, New York, NY (January 2 & 4, 2015)
Planning and Personnel Committee                                                       2011-2012; 2014-2015
Nominating Committee                                                                               2009-2012
Screening Committee, Social Studies Program                                                        2007-2010
Co-Coordinator, Phi Alpha Theta                                                                    2008-2010
Recording Secretary                                                                      2006-2007, 2018-19
